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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI


UNITED STATES OF AMERICA                     )
                                             )        4:21-cr-00528
vs.                                          )
                                             )
BRITTISH WILLIAMS                            )

                             MOTION TO EXTEND SURRENDER DATE

       Comes now the Defendant, BRITTISH WILLIAMS, by and through her attorney, Beau B.

Brindley, and respectfully moves this Court to extend her surrender date instanter. In support, she

states as follows:

       Ms. Williams was due to surrender to Alderson FPC on January 3, 2023. She was unable to

report as ordered.

       On January 2, 2024, Ms. Williams filed a Motion to Reduce Sentence Pursuant to Amendment

821 of the guidelines. She now requests that her surrender date be extended until such a time as the

Court has fully adjudicated that motion. This will be in the interest of judicial economy, as it will

eliminate the need for Ms. Williams to be transported back and forth between FPC Alderson and the

St. Louis.

       WHEREFORE, the undersigned respectfully requests that Ms. Williams’s surrender date be

extended until after her Motion to Reduce Sentence is adjudicated.



                                             Respectfully submitted,
                                             Brittish Williams
                                             By:     s/ Beau B Brindley



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312.765.8878




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                                CERTIFICATE OF SERVICE

     The undersigned, an attorney, certifies that he caused a true and correct copy of the attached

motion to be served upon the government by electronically serving it through the CM/ECF system on

January 4, 2024.



                                    s/ Beau B. Brindley




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